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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CAPITOL HEMP, LLC

                            Plaintiff,               Case No.:
        v.

 UNITED STATES OF AMERICA                               Judge:

                          Defendant.



                       COMPLAINT FOR DECLARATORY RELIEF

Plaintiff CAPITOL HEMP, LLC, by and through undersigned counsel, brings this action for
declaratory relief under the Declaratory Judgment Act, 28 U.S.C. § 2201, seeking judicial
determination of the proper scope and applicability of the congressional appropriations rider
commonly referred to as the "Harris Amendment."

                                         INTRODUCTION

Plaintiff CAPITOL HEMP, LLC is seeking a declaratory judgment that the congressional
appropriations rider known as the “Harris Amendment” does not prohibit the District of
Columbia from enacting legislation regulating hemp.

Although hemp was removed from the federal Controlled Substances Act in 2018, the District of
Columbia has continued to take enforcement actions against hemp without adopting any
legislation specifically addressing it. As a direct result of such enforcement, Plaintiff has been
named as a defendant in a related federal case.

Once the limits of the District’s existing authority are clarified in separate proceedings, the
District will be required to enact legislation in order to continue such enforcement. Whether the
Harris Amendment permits such legislation is a live and pressing legal question that will
necessarily need to be addressed. Plaintiff seeks a determination that the District of Columbia is
not barred from legislating in this area in order to avoid further delay, legal uncertainty, and
prejudice to its ongoing operations.


                                JURISDICTION AND VENUE
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This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this action arises
under the Constitution and laws of the United States, including the Declaratory Judgment Act, 28
U.S.C. §§ 2201–2202, and concerns the proper interpretation of federal appropriations law.

Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e) because the Defendant is the
United States, a substantial part of the events or omissions giving rise to the claim occurred in
this district, and the Plaintiff resides and operates in this district.

                                                    PARTIES

Plaintiff CAPITOL HEMP, LLC is a limited liability company organized under the laws of the
District of Columbia, engaged in the commercial sale of hemp and hemp-derived products that
are lawful under the federal Agriculture Improvement Act of 2018 (the “Farm Bill”).

Defendant UNITED STATES OF AMERICA is the sovereign government of the United States
and is responsible for the enactment and administration of congressional appropriations,
including the recurring budget rider commonly referred to as the “Harris Amendment.”

                                        FACTUAL BACKGROUND

    1. The Harris Amendment and the District's Ongoing Enforcement

             a. Since 2014, Congress has included in its annual appropriations bills a rider
                commonly referred to as the “Harris Amendment,” which provides:

                  “None of the funds contained in this Act may be used to enact any law, rule, or
                  regulation to legalize or otherwise reduce penalties associated with the
                  possession, use, or distribution of any Schedule I substance under the Controlled
                  Substances Act (21 U.S.C. 801 et seq.) or any tetrahydrocannabinol derivative.”

             b. Although the Rider was originally drafted to bar the District of Columbia from
                legalizing the retail sale of marijuana, and depending on the budget year there are
                slight variations to its general recurring language, it has never been amended, or
                updated to reflect the 2018 removal of hemp from the federal Controlled
                Substances Act or that hemp is no longer a Schedule I substance, even though
                Congress expressly removed it from that category.1

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  Since its inception in the fiscal year (FY) 2015 appropriations legislation, the Harris Rider has undergone several
linguistic modifications, particularly with respect to the term "tetrahydrocannabinols derivative" The original
version stated: “None of the funds contained in this Act may be used to enact any law, rule, or regulation to legalize
or otherwise reduce penalties associated with the possession, use, or distribution of any Schedule I substance under
the Controlled Substances Act (21 U.S.C. 801 et seq.) or any tetrahydrocannabinols derivative for recreational


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               c. Although Congress expressly removed hemp from Schedule I under the federal
                  Controlled Substances Act, the District has not amended its own Controlled
                  Substances Act to reflect the change in federal law.

                        i. The word hemp does not appear in the D.C. Controlled Substances Act.

                        ii. The word hemp does not appear anywhere in the D.C. Code.

                        iii. The word hemp does not appear in any of the laws establishing or
                             implementing the District's Medical Marijuana Program.

               d. Capitol Hemp has filed suit in D.C. Superior Court to clarify the District's
                  authority to enforce cannabis licensing laws against federally legal hemp and
                  hemp-derived products.2

               e. Plaintiff is now named as a defendant in a separate federal civil action currently
                  pending in this forum, that in direct consequence of the District’s enforcement
                  posture toward hemp, mischaracterizes Plaintiff's conduct as illegal.3

               f. Unless the D.C. Superior Court concludes that the District's enforcement was
                  merely performative – and agrees with Capitol Hemp that the due process clause
                  does not demand legal clairvoyance – the District Council will be required to
                  enact legislation in order to regulate hemp, which will, at a minimum, require
                  updating the D.C. Controlled Substances Act to define hemp, distinguish it from
                  marijuana, and remove it from the list of controlled substances.

       2. Constitutional Conflict and Legal Ambiguity

               a. Because the congressional appropriations clause prohibits the District of
                  Columbia from "... enacting… law … associated with … any Schedule I
                  substance," the District’s ability to regulate hemp turns on whether such
                  legislation would violate the Rider. Accordingly, lawmaking on hemp presents a
purposes.” See Consolidated and Further Continuing Appropriations Act, 2015, Pub. L. No. 113-235, Div. D, Title
VIII, § 809 (2014). Notably, the term “tetrahydrocannabinols” was used in its plural form, consistent with the
Controlled Substances Act’s Schedule I classification of various THC isomers. In later years, the Rider’s language
evolved — for example, by adding “enact or carry out” — broadening the restriction’s reach while retaining the
undefined reference to “tetrahydrocannabinols derivative.
2
    Capitol Hemp, LLC v District of Columbia (2025-CAB-003730).
3
    Alliance of Legal Cannabis Entities-DC v. 1314 9th Street LLC, Civil Action No. 24-3416 (D.D.C. Apr. 21, 2025)



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               concrete constitutional controversy under federal law and implicates fundamental
               constitutional principles.

           b. Plaintiff seeks declaratory relief to resolve the conflict and obtain clarity on the
              scope and limits of the Rider before further enforcement, legislation, or litigation
              proceeds.

                               CLAIM FOR DECLARATORY RELIEF

Given the Rider’s potential to bar the District from updating its laws, timely declaratory relief is
both appropriate and necessary. Plaintiff brings this action to obtain a declaration of the parties’
rights under the Harris Rider and its application to the District of Columbia’s regulation of hemp
and hemp-derived products.

Capitol Hemp seeks a declaration resolving the following questions:

   1. Whether the Rider, by its terms, bars the District of Columbia from removing hemp
      from Schedule I of its Controlled Substances Act, thereby creating a constitutionally
      impermissible conflict.

           a. Hemp has been expressly removed from Schedule I under the federal Controlled
              Substances Act.

           b. The District, however, has not amended its own Controlled Substances Act to
              reflect that change.

                 i.    If legislation to remove hemp from the District’s Schedule I is deemed to
                       “respect” a Schedule I substance within the meaning of the Rider, then the
                       District is effectively barred from conforming its laws to federal standards
                       — a circular and constitutionally impermissible constraint.

           c. The District’s position further implicates a separate but related constitutional
              question: whether it may simultaneously treat hemp as a Schedule I substance
              for purposes of enforcement while disavowing that same classification when
              assessing the applicability of the Rider.

                 i.    If the District considers hemp to remain a Schedule I substance under its
                       local law, then any legislative effort to remove or reclassify it may be
                       deemed to “respect” a Schedule I substance within the meaning of the




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                           Rider. If it does not, then the District lacks a statutory basis for having
                           enforced cannabis licensing requirements against hemp in the first place.

                    ii.    This inconsistency underscores the need for declaratory relief.

             d. No other jurisdiction is similarly barred from aligning its laws with federal
                classifications, raising serious concerns about whether the Rider, so construed,
                violates principles of due process, equal treatment, and core legislative function.

    2. Whether the Rider’s grammatical structure – specifically the function of the word
       "or" – creates ambiguity that renders it impossibly vague.

             a. If read as appositional – where the phrase “any tetrahydrocannabinols derivative”
                merely restates or clarifies “Schedule I substances” – then the Rider's scope is
                implicitly limited by the Controlled Substances Act, but leaves the same legal
                uncertainty as to whether the District would violate the Rider's terms if clarifying
                or defining hemp through legislation.

             b. If read as disjunctive – and interpreted to introduce a second, standalone category
                – the term “tetrahydrocannabinols derivative," which lacks statutory definition or
                settled regulatory meaning under federal law, introduces ambiguity that
                compounds interpretive instability and deprives the District of clear legislative
                guidance.

    3. Whether the Rider’s inclusion of the term "tetrahydrocannabinols derivative”
       creates an unworkable and constitutionally infirm standard.4

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  The phrase “tetrahydrocannabinol derivative” is undefined in federal statute and regulation, including in the
Controlled Substances Act (CSA), the Agriculture Improvement Act of 2018 (Farm Bill), and DEA scheduling
rules. The Controlled Substances Act refers to “tetrahydrocannabinols” (plural, Schedule I) and
“delta-9-tetrahydrocannabinol” (as a specific compound), but it does not define or separately schedule derivatives of
THC using the standalone term “tetrahydrocannabinol derivative.”

The Farm Bill, by contrast, distinguishes hemp-derived cannabinoids, isomers, and derivatives as lawful if the
product contains no more than 0.3% delta-9-THC on a dry weight basis, but it does not use or define the term
tetrahydrocannabinol derivative. The singular construction “tetrahydrocannabinol” (rather than the CSA’s plural
“tetrahydrocannabinols”) and the addition of “derivative” creates legal ambiguity: (1) it is unclear whether the term
refers only to delta-9-THC derivatives, or also to isomers such as delta-8-THC, delta-10, and HHC; (2) it lacks a
reference framework — no federal agency has adopted a definition; and (3) it potentially captures an unbounded
range of chemical compounds, in conflict with due process standards requiring clarity in penal statutes. Moreover, it
is not listed in DEA’s published controlled substance schedules nor in any federal rulemaking that would supply a
clear interpretive gloss.

Courts interpreting the CSA have consistently emphasized that statutory precision is essential in the criminal
context; a term like “tetrahydrocannabinol derivative,” untethered from any statutory or scientific definition, risks
arbitrary enforcement and fails to give fair notice of what conduct is proscribed. Its inclusion in the Harris Rider —


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            a. Inclusion in the Rider of the phrase “tetrahydrocannabinols derivative” – a term
               undefined in the Rider itself, the Controlled Substances Act or federal drug
               schedules – introduces significant interpretive uncertainty.

            b. Further, if the Rider is interpreted such that the term is treated as a standalone
               category — untethered from federal scheduling — the Rider could be construed to
               bar the District from regulating or even clarifying the status of lawful
               hemp-derived cannabinoids such as delta-8 THC.

                   i.    If so, the Rider would not only prohibit the District from aligning with
                         federal law, but could also prevent it from addressing the scientific and
                         legal complexities required to respond in an evolving hemp-derived
                         cannabinoid marketplace — raising serious constitutional concerns under
                         the Due Process Clause and principles of non-delegation.

Though the District has not yet amended its laws, there is no reason to believe that once
compelled to act, the District will not seek to regulate hemp through legislation.

In the absence of a clear federal standard, any such legislative effort would risk immediate legal
challenge, delay, and confusion. This would not only impose additional barriers to Plaintiff’s
operations, but would fundamentally impair Plaintiff’s ability to obtain clear legal footing as to
the status of the products at issue and prepare a defense in pending litigation.

Plaintiff therefore brings this action to resolve these pressing legal uncertainties and to ensure
that any future legislation adopted by the District is not subsequently invalidated or obstructed by
an overly broad interpretation of the Harris Rider.

                                            PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court:

    2. Declare that the Harris Rider, if construed to prohibit the District of Columbia from
       removing hemp from Schedule I of its Controlled Substances Act, creates an
       impermissible conflict with federal law and constitutes an unconstitutional constraint on
       local legislative authority;




a funding restriction with no implementing regulations or definitions — compounds this problem by injecting a
vague and novel term into a statutory constraint on local legislative authority.


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   3. Declare that the Rider’s reference to “any Schedule I substance … or any
      tetrahydrocannabinols derivative,” when construed in conjunction with the District’s
      Controlled Substances Act, creates an ambiguous and unworkable standard that prevents
      the District from determining which substances it may lawfully regulate.

   4. Declare that the term “tetrahydrocannabinols derivative,” as used in the Rider, is
      unconstitutionally vague, lacking any established statutory definition or limiting
      principle, and that its inclusion complicates the interpretive instability of the Rider’s
      construction.

   5. Declare that, to the extent the Rider prevents the District from aligning its laws with
      federal classifications or regulating lawful hemp-derived cannabinoids, it violates
      principles of due process, non-delegation, and equal treatment.

   6. Grant such further declaratory or equitable relief as the Court deems just and proper.

Dated: June 12, 2025                               Respectfully submitted,




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